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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )       CRIMINAL ACTION NO.
        v.                            )           2:18cr95-MHT
                                      )
MARTINEZA DEWAN McCALL                )

          ORDER FOR ADDITIONAL CONDITIONS OF RELEASE

       Based upon the representations made on the record

on August 5, 2020, it is ORDERED that the conditions of

release are modified to include the following:

       (1) Defense        counsel         shall      assist       defendant

Martineza Dewan McCall, as needed, with his application

for Social Security Disability.                   Defense counsel shall

inform the court of the results of his application.                        If

the     application       is    unsuccessful,         the     court    will

consider imposing a vocational training condition.

       (2)    The     supervising         probation     officer,       with

defense counsel’s assistance if needed, shall confirm

that      defendant       McCall     had     received       his     General

Equivalency Diploma (GED) or high school diploma, and
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shall report to the court his findings by September 2,

2020.    See Presentence Investigation Report (doc. no.

42) at 12.       If defendant McCall has not received a

diploma, the court will require him to study for his

diploma during his period of home confinement.

    (3) The supervising probation officer, with defense

counsel’s assistance if needed, shall determine whether

defendant    McCall     has    completed      a   parenting       skills

course while in the Bureau of Prisons and shall inform

the court of his findings by September 2, 2020.                          If

defendant    McCall     has   completed      such    a    course,       the

supervising probation officer shall recommend to the

court whether an additional course would be helpful.

If he has not completed such a course, the court will

require defendant McCall to complete such a course.

    (4) Defense       counsel    shall    arrange        for   defendant

McCall to undergo a thorough mental-health evaluation

performed by a licensed psychologist, and shall file


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the evaluation under seal upon completion, but no later

than    September       30,   2020.           The    evaluation       should

address,    in    addition    to     the      regular    topics,     whether

defendant    McCall      suffers      from       post-traumatic       stress

disorder    due    to    witnessing        his    brother’s      death     and

other     traumas,      whether     his       marijuana     addiction       is

related to these traumas, and what other impact, if

any, the traumas have had on his life and functioning.

In addition, the evaluation should make recommendations

as to therapy or other services that would aid him in

dealing    with    any    impacts        of    those     traumas     and   in

handling    stress      and   life    outside       of    prison     without

resort to substance abuse.

       (5) The court will revisit defendant McCall’s home

confinement condition upon his completion of one year

under that condition, to determine whether it should be

loosened or lifted.           On or before June 7, 2021, the

supervising       probation       officer        shall    file   a    report


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summarizing     defendant      McCall’s     performance       on    home

confinement and making a recommendation as to whether

any changes should be made.            The court will carefully

consider   defendant      McCall’s     parenting     efforts,      among

other issues, when it revisits this issue.

    (6) The court assumes that defendant McCall has no

objection to these modifications of his conditions of

release. However, if he does, he must notify the court

within seven days of the date of this order.

    DONE, this the 6th day of August, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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